                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA,                         )
                                                   )
                        Plaintiff,                 )
                                                   )
         v.                                        )    Criminal Action No. 23-61 (MN)
                                                   )
 ROBERT HUNTER BIDEN,                              )
                                                   )
                        Defendant.                 )

                           THE COURT’S PROPOSED VOIR DIRE

       Good morning. My name is Maryellen Noreika and I am the judge in the criminal case of

United States v. Robert Hunter Biden for which we are about to select a jury. I am going to ask

you some questions to help us in the jury selection process. Before I ask my questions, I am going

to ask the Deputy Clerk to swear the jury panel to answer any questions truthfully. (Jury is sworn.)

       You each have the list of questions that I am going to read. If you answer “yes” to any of

the questions that I ask, please make a note of that on the list. At the end of the questions, you will

all move into another courtroom. Then I will ask that those of you who you answered yes to any

questions be brought back into this courtroom one at a time so that you can talk with the lawyers

and me about your answers.

       Jury selection and the presentation of evidence in this case is expected to conclude by next

Friday, June 14, 2024, but jury deliberations could extend your service beyond that. The schedule

that I expect to keep over the days of evidence presentation will include a morning break of fifteen

minutes, a lunch break of 30 to 45 minutes, and an afternoon break of fifteen minutes. We will

start at 9:00 a.m. and finish no later than 4:30 to 4:45 p.m. each day.

       1.      Does the schedule that I have just mentioned present a special problem to any of

you?
         2.    This is a criminal case involving three charges against the defendant, Robert Hunter

Biden:

                      i.      Count One alleges that the defendant made a false statement in the

                              purchase of a firearm, in violation of Title 18, United States Code,

                              Section 922(a)(6).

                     ii.      Count Two alleges that the defendant made a false statement related

                              to information required to be kept by law by a federal firearms

                              licensed dealer, in violation of Title 18, United States Code, Section

                              924(a)(1)(A).

                    iii.      Count Three alleges that the defendant, knowing that he was an

                              unlawful user of a controlled substance or addicted to a controlled

                              substance, did knowingly possess a firearm, in violation of Title 18,

                              United States Code, Section 922(g)(3).

The jury in this case will be asked to decide whether Robert Hunter Biden is guilty beyond a

reasonable doubt of these charges against him. Have you heard or read anything about this case

or the underlying investigation from the news, social media, or any other source?

         3.    Have you formed any opinions about this case that would prevent you from being

a fair and impartial juror?

         4.    Is there anything about the nature of the charges in this case that would prevent you

from being a fair and impartial juror?

         5.    The lawyers involved in this case are: Derek Hines and Leo Wise, of the United

States Department of Justice who represent the United States, and Abbe Lowell and David

Kolansky of Winston & Strawn LLP, and Bartholomew Dalton of Dalton and Associates who




                                                 2
represent Robert Hunter Biden. Do you or your immediate family, such as spouse, child, parent,

or sibling, know any of the attorneys I have just named?

       6.      Have you or any member of your immediate family had any business dealings with,

or been employed by, any of these attorneys or their offices?

       7.      Are you, any member of your immediate family, or close friends acquaintances

with Robert Hunter Biden or any member of his family?

       8.      The potential witnesses in this case are:

               •     [The parties will each provide the court with a witness list in advance of jury

                     selection]

Are you familiar with any of these potential witnesses?

       9.      The law enforcement agencies involved in this case are:

               •     The Federal Bureau of Investigation (FBI),

               •     The Bureau of Alcohol, Tobacco, and Firearms (ATF),

               •     The U.S. Drug Enforcement Administration (DEA), and

               •     The Delaware State Police (DSP).

Would the fact that those agencies investigated this case interfere with your ability to be a fair and

impartial juror?

       10.     Have you, any member of your immediate family, or close friends ever been

employed by, or investigated by, any law enforcement agency, including: Delaware or other state

or local police, the FBI, ATF, DEA, the Secret Service, U.S. Marshals, the IRS, U.S. Immigration

and Customs Enforcement, U.S. Customs and Border Protection, the Bureau of Prisons, any state

or federal prosecutor’s office, or any state or local prison system?




                                                  3
        11.     Do you believe that you will give more or less weight to the testimony of a law

enforcement officer, simply because he or she is employed as a law enforcement officer?

        12.     Have you or any member of your immediate family ever been (a) a victim of a

crime, (b) a witness in a criminal case, or (c) arrested for a crime, not including minor traffic

offenses?

        13.     Do you have any opinions about the criminal justice system that would make it

difficult for you to be a fair and impartial juror in this case?

        14.     Are you, any member of your immediate family or a close friend studying, planning

to or currently working in a legal profession (e.g., lawyer, paralegal, legal secretary)?

        15.     Do you have any education or training or work experience in any of the following

areas: firearms; law enforcement or policing; investigations; substance/alcohol abuse; laboratory

testing; retail sales?

Firearms

        16.     Do you believe that all people should be permitted by law to buy or possess a

firearm regardless of whether they have been or are a user of a controlled substance or addicted to

a controlled substance?

        17.     Do you believe that the government should not be able to require a background

check for a gun purchase?

        18.     Do you or a close family member have any experience purchasing a firearm

(including a handgun, pistol, automatic rifle, hunting rifle, or other)?

        19.     Are you familiar with any laws, regulations, or requirements regarding purchasing,

owning, or selling a firearm?




                                                   4
       20.     Have you or a close a family member ever filled out any government forms as part

of the purchase of a firearm?

       21.     Do you have any strong views about gun ownership in this country, the gun lobby,

or the Second Amendment?

Politics

       22.     If you were eligible to vote in any election(s) in which Joseph R. Biden was a

candidate, would that fact prevent you from maintaining an open, impartial mind until all of the

evidence is presented, and the instructions of the Court are given?

       23.     Have you ever donated money to a political campaign?

       24.     Have you ever been actively involved in a political campaign, political

organization, or any organization that is associated with a political party?

       25.     Have you, or any member of your immediate family or household ever run for,

sought, or held any elected or appointed political office?

       26.     Do your views regarding the 2024 election or of any of the candidates for president

in any way prevent you from being a fair and impartial juror in this case?

       27.     Do you believe the United States Department of Justice, the FBI, ATF, DEA, or

any other law enforcement agency investigates and prosecutes individuals because of politics?

       28.     Do you believe Robert Hunter Biden is being prosecuted in this case because his

father is the President of the United States and a candidate for President?

       29.     Do you believe Robert Hunter Biden is not being prosecuted for other crimes

because his father is the President of the United States and a candidate for President?

       30.     Do you disagree that the law should apply equally to all, including the son of the

President?




                                                 5
Addiction Matters

         31.   Have you, a family member or a close friend ever suffered from drug or alcohol

abuse, or been addicted to drugs or alcohol in any way?

         32.   Have you, any member of your family or a close friend ever sought treatment,

professional counselling, entered a rehab program, gone to Alcoholics Anonymous, or tried other

forms of addiction treatment or therapy?

         33.   Do you have any strong negative views about past users of controlled substances,

narcotics, or alcohol?

         34.   Do you believe someone who is addicted to drugs should not be charged with a

crime?

         35.   Do you have any opinions about addiction to drugs or alcohol that would prevent

you from maintaining an open, impartial mind until all of the evidence is presented, and the

instructions of the Court are given?

         36.   If you are selected to sit as a juror in this case, are you aware of any reason why

you would be unable to render a verdict solely on the evidence presented at trial?

         37.   If you are selected to sit as a juror in this case, are you aware of any reason why

you would not be able to follow the law as I give it to you?

         38.   If you are chosen to sit as a juror in this case, you will be instructed that you will

not be able to do any research or investigation, including on the Internet, on any issues in the case

or communicate with others about your jury service. Is this an instruction that you will be able to

follow?




                                                 6
       39.     Under the law, a defendant need not testify or produce any evidence. The burden

of proof is always on the government. If a defendant does not testify, the jury may not consider

that fact in any way in reaching a decision. Would you have any difficulty following this rule?

       40.     A fundamental principle of our legal system is that when a person is charged with

a crime, he is presumed to be innocent unless and until the Government proves guilt beyond a

reasonable doubt. If you are selected as to sit as a juror in this case, will you have difficulty

following this rule of law?

       41.     Robert Hunter Biden, as the defendant in this case, may choose not to testify in his

own defense, and I instruct you that the choice not to testify, if that is Robert Hunter Biden’s

choice, may not be held against him. If you are selected as a juror in this case, will you have

difficulty following this instruction?

       42.     Testimony may be presented in this case by a witness who has agreed to testify as

part of a guilty plea agreement with the Government. I instruct you that if such a witness testifies,

you will have to evaluate that witness’s testimony as you would that of any other witness. If you

are selected as a juror in this case, will you have difficulty following this instruction?

       43.     Have you served on a jury in a criminal case before?

       44.     Have you served on a grand jury before?

       45.     Have you ever been a witness in a civil or criminal matter, or been a plaintiff or

defendant in any case?

       46.     Is there anything, such as poor vision, difficulty hearing, difficulty understanding

spoken or written English, that would make it difficult for you to serve on this jury?




                                                  7
       47.     This is the last question. Is there anything else, including something that you have

remembered in connection with one of the earlier questions, that you think you would like to tell

me in connection with your service as a juror in this case?




                                                8
